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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

   SUHAIL NAJIM                       )
   ABDULLAH AL SHIMARI et al.,        )
                                      )
                          Plaintiffs, )
                                      )               Case No. 1:08-cv-827 (LMB/JFA)
                  v.                  )
                                      )
   CACI PREMIER TECHNOLOGY, INC.      )
                                      )
                         Defendant. )
                                      )
                                      )

               PLAINTIFFS’ SUPPLEMENTAL RULE 26(a)(3) DISCLOSURES

         Pursuant to Rule 26(a)(3) of the Federal Rules of Civil Procedure, Plaintiffs Suhail Najim

  Abdulla Al Shimari, Asa’ad Hamzah Hanfoosh Al-Zuba’e, and Salah Hasan Nsaif Jasim Al-

  Ejaili (collectively, “Plaintiffs”), by and through their undersigned counsel, respectfully submit

  the following supplemental Rule 26(a)(3) disclosures. These disclosures are made without

  waiver of the attorney-client privilege, attorney work-product doctrine, or any other applicable

  privilege. Plaintiffs reserve the right to add to or amend these disclosures as appropriate and/or

  necessary.
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                          PLAINTIFFS’ SUPPLEMENTAL TRIAL EXHIBITS

       Trial
              Bates/Dep. Ex.
       Ex. #                                                          Description
                  Number
      (PTX)
      85A    Porvaznik Dep.              CACI Year 2003 Code of Ethics and Business Conduct
             Ex. 6                       Standards1
      229    CACI 4760                   Certification of Understanding and Compliance with Code of
                                         Ethics and Business Conduct Standards and Electronic
                                         Communications Policy executed by Torin Nelson2
      230        CACI 11992 -            Employment Agreement between CACI Premier Technology,
                 11995                   Inc. and Torin Nelson3
      231        Army 0010503            Photograph of Sabrina Harman4
      232        Army 0010417 -          October 20, 2003 Letter from Sabrina Harman to Kelly5
                 0010419
      233        Army 0000906 -          December 15, 2003 Letter from Sabrina Harman to Kelly6
                 0000908
      234        Army 0010371            Photograph of Sabrina Harman taking pictures of detainees.7




  1
   CACI’s 2004 Code of Conduct, which is nearly identical to PTX-85A, is identified as PTX-85 and was
  admitted at the April 2024 trial.
  2
    This document comes from CACI’s own files and bears significantly on CACI’s borrowed servant
  defense.
  3
    This document comes from CACI’s own files and bears significantly on CACI’s borrowed servant
  defense.
  4
      Plaintiffs intend to use this photograph as a demonstrative only.
  5
   On October 23, 2024, the Government granted a Touhy request from CACI seeking, among other things,
  authorization for “any and all public statements, including private statements that have become public (such
  as published letters), regarding Ms. Harman’s experiences at Abu Ghraib” and “all pictures in which Ms.
  Harman is featured or for which Ms. Harman was the photographer. See ECF No. 1762-6 at 4.
  6
   On October 23, 2024, the Government granted a Touhy request from CACI seeking, among other things,
  authorization for “any and all public statements, including private statements that have become public (such
  as published letters), regarding Ms. Harman’s experiences at Abu Ghraib” and “all pictures in which Ms.
  Harman is featured or for which Ms. Harman was the photographer. See ECF No. 1762-6 at 4. Plaintiffs
  will redact portions of PTX 233 the content of which is inadmissible under the Court’s prior rulings.
  7
   On October 23, 2024, the Government granted a Touhy request from CACI seeking, among other things,
  authorization for “any and all public statements, including private statements that have become public (such
  as published letters), regarding Ms. Harman’s experiences at Abu Ghraib” and “all pictures in which Ms.
  Harman is featured or for which Ms. Harman was the photographer. See ECF No. 1762-6 at 4.
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                                  Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 29, 2024, I electronically filed the foregoing through the

  CM/ECF system, which sends notification to counsel for Defendants.

                                                      /s/ Charles B. Molster, III

                                                         Charles B. Molster, III




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